      Case 3:19-cv-01119-ADC-BJM Document 131 Filed 07/11/22 Page 1 of 1


                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF PUERTO RICO

 DAVILAH CRUZ, et al.,
         Plaintiffs,
                                                       CIVIL NO. 19-1119 (ADC)
         v.
 MUNICIPALITY OF LAJAS, et al.,
         Defendants.


                                        ORDER

       A mediation/settlement conference is set for August 25, 2022 at 3:00 p.m. in
Courtroom 9.
       During the conference, the parties are ordered to have available in-person or by
telephone a non-attorney client representative with full settlement authority.
       In order to facilitate settlement, the plaintiff shall serve a written settlement
demand to the defendant by not later than July 25, 2022. The defendant shall serve
plaintiff with a written response - accepting the demand, rejecting it, or making a
counter-offer - by not later than August 8, 2022. The parties shall NOT file their
settlement demands or counter-offers with the court. Counsel for the parties shall confer
the week of August 15, 2022 to try to reach settlement before the scheduled
conference.
       Motions to reschedule the conference will not be considered unless the moving
counsel first contacts all other attorneys and certifies at least three proposed alternative
days when all parties will be available. Failure to strictly comply with this order, or to
negotiate settlement in good faith, may be grounds for sanctions pursuant to Fed. R.
Civ. P. 16(f).
       IT IS SO ORDERED.
       In San Juan, Puerto Rico this 11th day of July, 2022.


                                                 s/Bruce J. McGiverin
                                                 BRUCE J. McGIVERIN
                                                 United States Magistrate Judge
